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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


LISA R. DISSINGER,

                    Plaintiff,

v.                                                  Case No. 6:22-cv-575-CEM-DCI

FRONTLINE ASSET
STRATEGIES, LLC,

                    Defendant.
                                       /

                                      ORDER

      THIS CAUSE is before the Court upon sua sponte review of the file. On

August 15, 2022, this Court entered an Order (Doc. 25) directing the parties to advise

the Court on the selection of a mediator on or before August 29, 2022. (Id. at 1). The

parties were also warned that failure to comply with any Local Rules or Court Orders

may result in the imposition of sanctions including, but not limited to, the dismissal

of this action without further notice. (Notice to Counsel and Parties, Doc. 5). The

parties have failed to notify the Court on the selection of a mediator, and the time to

do so has passed.

      Therefore, it is ORDERED and ADJUDGED that this case is DISMISSED

without prejudice. The Clerk is directed to close this case.




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      DONE and ORDERED in Orlando, Florida on September 15, 2022.




Copies furnished to:

Counsel of Record




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